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                     Responses Received:

                              •   Preliminary Objection of the Plan Administrator to Motion by
                                  Creditor F3 Metalworx, Inc. for the Allowance and Payment of
                                  Post-Petition Storage Charges of $23,437 through October 2023 as
                                  an Administrative Expense and for Payment of $3,750 per Month
                                  as a Continuing Ordinary Course Administrative Expense [Docket
                                  No. 2510].

                              •   Limited Omnibus Objection and Reservation of Rights of the Plan
                                  Administrator to Certain Administrative Claims [Docket No.
                                  2513].

                              •   Reply Declaration of Merrill M. O’Brien, Esq., in Further Support
                                  of Creditor F3 Metalworx, Inc.’s Motion for the Allowance and
                                  Payment of Post-Petition Storage Charges of $23,437 through
                                  October 2023 as an Administrative Expense and for Payment of
                                  $3,750 per Month as a Continuing Ordinary Course Administrative
                                  Expense [Docket No. 2523].

                              •   Supplemental Objection of the Plan Administrator to Motion by
                                  Creditor F3 Metalworx, Inc. for the Allowance and Payment of
                                  Post-Petition Storage Charges of $23,437 through October 2023 as
                                  an Administrative Expense and for Payment of $3,750 per Month
                                  as a Continuing Ordinary Course Administrative Expense [Docket
                                  No. 2672].

                     Related Documents:

                              •   Certification of No Objection Regarding Creditor F3 Metalworx,
                                  Inc.’s Motion for the Allowance and Payment of Post-Petition
                                  Storage Charges of $23,437 through October 2023 as an
                                  Administrative Expense and for Payment of $3,750 per Month as a
                                  Continuing Ordinary Course Administrative Expense [Docket No.
                                  2506].

                              •   Determination of Adjournment Request [Docket No. 2528].

                              •   Notice of Abandonment of Certain De Minimis Assets (125 Pallets
                                  of Valance Bands) [Docket No. 2645].

                              •   Determination of Adjournment Request [Docket No. 2772].

                              •   Determination of Adjournment Request [Docket No. 2897].

                              •   Determination of Adjournment Request [Docket No. 2926].




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                              •    Determination of Adjournment Request [Docket No. 2953].

                              •    Determination of Adjournment Request [Docket No. 2981].

                              •    Determination of Adjournment Request [Docket No. 3073].

                              •    Determination of Adjournment Request [Docket No. 3297].

                              •    Determination of Adjournment Request [Docket No. 3340].

                              •    Stipulation and Consent Order Between Plan Administrator and F3
                                   Metalworx, Inc. Resolving Motion for Allowance and Payment of
                                   Administrative Expense [Docket No. 3467].

                     Status: This matter has been resolved. A stipulation and proposed form of order
                     agreed to by the parties has been submitted to the Court. No hearing is necessary.

 II.       MATTER ADJOURNED TO AUGUST 27, 2024, AT 10:00 A.M. (ET)

           2.        Notice of Motion for an Order Modifying the Automatic Stay and Plan Injunction
                     to Allow Movant to Continue Pending Litigation Against the Debtor, to Recover
                     Solely Against Debtor’s Insurer, Waiving the Provisions of Fed. R. Bankr. P.
                     4001 (A) (3) and for Related Relief [Docket No. 3195].

                     Related Documents:

                              •    Determination of Adjournment Request [Docket No. 3319].

                              •    Determination of Adjournment Request [Docket No. 3351].

                              •    Determination of Adjournment Request [Docket No. 3466].

           Status: This matter is adjourned to August 27, 2024, at 10:00 a.m. (ET). The parties
           have consented to the adjournment and no hearing is necessary at this time.

 III.      MATTER ADJOURNED TO SEPTEMBER 17, 2024, AT 10:00 A.M. (ET)

           3.        Motion of HRTC I, LLC for Leave to File a Late Administrative Claim [Docket
                     No. 2397].

                     Responses Received:

                              •    Objection of the Plan Administrator to Motion of HRTC I, LLC
                                   For Leave to File a Late Administrative Claim [Docket No. 2485].

                              •    HRTC I, LLC’s Reply to Plan Administrator’s Objection to
                                   Motion for Leave to File Administrative Claim [Docket No. 2918].



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                     Related Documents:

                              •    Notice of Motion of HRTC I, LLC For Leave to File a Late
                                   Administrative Claim [Docket No. 2400].

                              •    Notice of Hearing [Docket No. 2425].

                              •    Determination of Adjournment Request [Docket No. 2531].

                              •    Determination of Adjournment Request [Docket No. 2537].

                              •    Determination of Adjournment Request [Docket No. 2772].

                              •    Determination of Adjournment Request [Docket No. 2897].

                              •    Determination of Adjournment Request [Docket No. 2926].

                              •    Determination of Adjournment Request [Docket No. 2953].

                              •    Determination of Adjournment Request [Docket No. 2982].

                              •    Determination of Adjournment Request [Docket No. 3073].

                              •    Determination of Adjournment Request [Docket No. 3297].

                              •    Determination of Adjournment Request [Docket No. 3340].

                              •    Adjournment Request Submitted to Court on August 19, 2024.

                     Status: This matter is adjourned to September 17, 2024, at 10:00 a.m. (ET). The
                     parties have consented to the adjournment and no hearing is necessary at this
                     time.




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 Dated: August 19, 2024                          /s/ Colin R. Robinson
                                                 Robert J. Feinstein, Esq. (admitted pro hac vice)
                                                 Bradford J. Sandler, Esq.
                                                 Paul J. Labov, Esq.
                                                 Colin R. Robinson, Esq.
                                                 PACHULSKI STANG ZIEHL & JONES LLP
                                                 780 Third Avenue, 34th Floor
                                                 New York, NY 10017
                                                 Telephone:     (212) 561-7700
                                                 Email:         rfeinstein@pszjlaw.com
                                                                bsandler@pszjlaw.com
                                                                plabov@pszjlaw.com
                                                                crobinson@pszjlaw.com

                                                 Counsel to the Plan Administrator




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